                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
v.                                                   )       Criminal No. 3:10-00250
                                                     )       Judge Trauger
MATTHEW PAUL DEHART                                  )

                                           ORDER

       A telephonic status conference was held on March 10, 2014 with counsel for the parties.

The government has not yet submitted an extradition request for the defendant in Canada. It is

hereby ORDERED that, by March 12, 2014, the government shall file a notice informing the

court and defense counsel of the date by which they will have filed the extradition request,

which, in no event, shall be later than March 24, 2014.

       Another telephonic status conference will take place with counsel for the parties on April

18, 2014 at 10:00 a.m. The parties shall call (615) 695-2858 in order to participate in the

telephone conference. The government should be prepared to furnish the court and defense

counsel a timeline as to the expected progress of the extradition proceedings.

       It is so ORDERED.

       ENTER this 10th day of March 2014.



                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                             U.S. District Judge




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